      Case 4:17-cr-00116 Document 145 Filed in TXSD on 03/07/18 Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                §
                                        §
VS.                                     §            4:17-cr-116 (2)
                                        §            (Hon. Lee H. Rosenthal)
STEPHEN STOCKMAN                        §


                       STOCKMAN’S PROPOSED VOIR DIRE

COMES NOW STEPHEN STOCKMAN, DEFENDANT, through Counsel Sean Buckley

and Gary Tabakman, and files this Proposed Voir Dire. Defendant Stockman respectfully

requests permission to query the jury panel on the following topics with the following

proposed questions:


Proof Beyond a Reasonable Doubt

       1.    Presumption of Innocence

             A defendant is presumed innocent unless he is proven guilty beyond a
             reasonable doubt. The fact that Steve Stockman has been indicted by a grand
             jury in this case has no bearing on that presumption of innocence.

                           a.    Do you feel that Steve Stockman probably did
                                 something wrong or he wouldn’t have been indicted?

                           b.    Do you feel that Steve Stockman is probably guilty of
                                 something?

                           c.    Without having heard any evidence in this case, but
                                 knowing that Steve Stockman has been indicted by a
                                 grand jury, if I asked for your verdict right now, what
                                 would it be: guilty, or not guilty?




                                            1
    Case 4:17-cr-00116 Document 145 Filed in TXSD on 03/07/18 Page 2 of 4



      2.    Burden of Proof

            In the United States, the Government has the burden of proving its case
            beyond a reasonable doubt; the Defendant in a criminal case never has the
            burden of proving his innocence, and he is not required to offer any evidence
            at all, if he chooses not to.

                           a.    Do you feel that a criminal defendant should be
                                 required to put on a defense, so the jury can hear his
                                 side?

                           b.    Would you tend to hold it against Steve Stockman if he
                                 (or I) decided not to put on a defense in this case?


The Right Not to Testify

      3.    Steve Stockman is Not Required to Testify

            In our legal system, all defendants have the right to testify in their own
            defense, and they also have the equal right NOT to testify if they decide not
            to, for any reason. There are many reasons why a defendant might decide
            not to testify in his own defense, having nothing to do with whether a
            defendant is guilty or not. The law also says that if a defendant decides not
            to testify in his own defense, you cannot hold it against him in any way.

            a.     Do you feel that if someone is charged with a serious crime, and he is
                   innocent, he should always testify in his own defense?

            b.     Feeling as you do, are you certain that you can follow the law, which
                   is that you must never consider a defendant’s decision not to testify
                   and hold it against him in any way?

            c.     Even if this turns out to be a close case, can you be certain that the
                   defendant’s decision not to testify, if he doesn’t, wouldn’t help nudge
                   you over to the side of the prosecution?


Weight Given to Witnesses

      4.    Would you give the testimony of a federal agent more weight than the
            testimony of a regular civilian?



                                           2
     Case 4:17-cr-00116 Document 145 Filed in TXSD on 03/07/18 Page 3 of 4



      5.     Are a person’s political views important to you when deciding their
             credibility as a witness?


Political Bias

      The Defendant is a political figure with distinct political views that may become
      known to you during this case. It is important that you can commit to setting your
      own political views aside, so you as jurors can ensure Steve Stockman receives a
      fair trial.

       6.    Do you believe that your own political views might be so passionate that you
             would have trouble setting them aside, if you come to learn during trial that
             they conflict with Steve Stockman’s political positions?

       7.    Can you commit to giving Steve Stockman a fair trial, and giving him the
             benefit of the doubt in this case, even if you discover that you strongly
             disagree with his politics?




                                                Respectfully submitted,



                                                /s/ Sean Buckley
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                                           3
     Case 4:17-cr-00116 Document 145 Filed in TXSD on 03/07/18 Page 4 of 4




                            CERTIFICATE OF SERVICE

      I certify that on this the 7th day of March, 2018 I provided a copy of the foregoing

Defense Witness List, to counsel for the United States of America and all parties, via the

ECF system.


                                                /s/ Sean Buckley
                                                Sean Buckley




                                            4
